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F|I.ED B"r' D.C.
IN THE UN|TED STATES DISTR|CT COURT

FOR THE WESTERN D|STFt|CT OF TENNESSEEQS JU[_ 2| AH 6: l¢']
WESTERN D|VISION

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UNITED STATES OF AN|ER|CA Wrr'“) 915 `si-l ai§eii}i“li$
P|aintiff

VS.
CFt. NO. 05-20204-B

WARD CRUTCHFIELD, CHARLES LOVE,

Defendants.

 

OFtDEFt ON CONT|NUANCE AND SPEC|FY|NG PEI'-`t|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for trial on the August, 2005 criminal rotation calendar. Cou nsel
for the defendants have requested a continuance ot the trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

5
a Report Date of Thursday, August 25, 200£; at 8:45 am., in Courtroom 1. 11th Fioor

ol‘ the Federal Building, l\/lemphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

iris so oaoEi=rEo this 20`¢` day r uiy, 2005.

 

.d NlEL BREEN \
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This document entered on ins docket sheet in compliance
with Fiule 55 and/or 32(t)) FHCrP on ’7"' I/ O

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Honorable J. Breen
US DISTRICT COURT

